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 1   [Submitting Counsel on Signature Page]
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 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    People of the State of California, et al.                  MDL No. 3047
          v.
11                                                               Case No.: 4:23-cv-05448-YGR
      Meta Platforms, Inc., Instagram, LLC, Meta
12    Payments, Inc., Meta Platforms Technologies,
      LLC                                                        STATE ATTORNEYS GENERAL’S
13
      ----------------------------------------------------       UNOPPOSED ADMINISTRATIVE
14                                                               MOTION FOR LEAVE TO FILE
      IN RE: SOCIAL MEDIA ADOLESCENT                             SUPPLEMENTAL AUTHORITY
15    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION
16                                                               Judge: Hon. Yvonne Gonzalez Rogers
      THIS DOCUMENT RELATES TO:
17    4:23-cv-05448.
                                                                 Magistrate Judge: Hon. Peter H. Kang
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               Under Civil Local Rule 7-11 and 7-3(d), the State Attorneys General (“State AGs”) submit this
21
     Unopposed Administrative Motion for Leave to File Supplemental Authority to bring to the Court’s
22
     attention the recent ruling of the Circuit Court of Cleburne County, Arkansas in State of Arkansas, ex rel.
23
     Tim Griffin, Attorney General v. TikTok Inc.; TikTok PTE. Ltd.; Bytedance Inc.; and Bytedance Ltd., Case
24
     No. 12CV-23-65, denying the TikTok defendants’ motion to dismiss.
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               The Arkansas opinion is relevant to Meta’s Motion to Dismiss (ECF 517), for which briefing has
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     been completed and argument was heard on April 19, 2024.
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         STATE ATTORNEYS GENERAL’S UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
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 1          The State AGs submit this authority via motion rather than a Statement of Recent Decision because
 2   Civil Local Rule 7-3(d) provides that Statements of Recent Decision must be submitted “before the noticed
 3   hearing date.” Civ. L.R. 7-3(d)(2). The Arkansas opinion was issued on May 15, 2024, after the
 4   completion of briefing and argument on the Motion to Dismiss. The Arkansas opinion is attached as
 5   Exhibit A, and a stipulation as required by Civil Local Rule 7-11(a) is attached as Exhibit B.
 6

 7
      DATED: June 19, 2024                                   Respectfully submitted,
 8

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         STATE ATTORNEYS GENERAL’S UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
                                                  4:23-cv-05448-YGR
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     STATE ATTORNEYS GENERAL’S UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
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     STATE ATTORNEYS GENERAL’S UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
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 1                                              ATTESTATION
 2
            I, Megan O’Neill, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to
 3
     the filing of this document has been obtained from each signatory hereto.
 4

 5    DATED: June 19, 2024
 6

 7                                                           /s/ Megan O’Neill
                                                             MEGAN O’NEILL
 8                                                           Deputy Attorney General
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         STATE ATTORNEYS GENERAL’S UNOPPOSED ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
                                                  4:23-cv-05448-YGR
